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   10                      UNITED STATES DISTRICT COURT
   11        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   12
   13 NEMAN BROTHERS & ASSOC.,                     Case No. 2:20-cv-11181-CAS-JPRC
      INC., a California Corporation,
   14                                              DECLARATION OF MARK S. LEE
                   Plaintiff,                      IN FURTHER SUPPORT OF:
   15
            v.                                     1) MOTION FOR SUMMARY
   16                                                 JUDGMENT AND PARTIAL
      INTERFOCUS, INC. d.b.a.                         SUMMARY JUDGMENT ON
   17 www.patpat.com, a Delaware                      PLAINTIFF’S COMPLAINT
      Corporation; CAN WANG, and                      AND DEFENDANT’S
   18 individual, and DOES 1-10, inclusive.,          COUNTERCLAIM; AND
   19              Defendants.                     2) OPPOSITION TO PLAINTIFF’S
                                                      MOTION FOR SUMMARY
   20                                                 JUDGMENT
      INTERFOCUS, INC. d.b.a.
   21 www.patpat.com, a Delaware                   3) APPLICATION TO FILE
      Corporation; CAN WANG, an                       UNDER SEAL
   22 individual, and DOES 1-10, inclusive,
                                                   Filed Concurrently with Supplemental
   23              Counterclaim Plaintiffs,        Brief, Application to File Under Seal
                                                   and Proposed] Order
   24        v.
                                                   Date: December 6, 2021
   25 NEMAN BROTHERS & ASSOC.,                     Time: 10:00 am
      INC., a California Corporation,              Courtroom: Courtroom 8D
   26
                   Counterclaim Defendant.         The Hon. Christina A. Snyder
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                                               1
          DECL OF MARK S. LEE IN FURTHER SUPPORT OF MTN FOR SUMMARY JUDGMENT AND OPP TO
            PLAINTIFF’S MTN FOR SUMMARY JUDGMENT; AND APPLICATION TO FILE UNDER SEAL
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    1         I, Mark S. Lee, declare:
    2         1.    I am a lawyer admitted to practice before this Court, and am a partner
    3 at Rimon, P.C., counsel of record for Interfocus, Inc. d.b.a. www.patpat.com
    4 (“Interfocus”) in this matter. I have personal knowledge of the following facts
    5 except where otherwise indicated based on my personal participation in the matters
    6 described, and if called upon as a witness, I could and would competently testify
    7 thereto.
    8         2.    On October 20, 2021, I took the deposition of Yoel Neman. Attached as
    9 Exhibit 1 are excerpts from the deposition that truly and accurately describe certain
   10 questions I asked and certain answers Mr. Neman gave in that deposition, as well as
   11 certain exhibits I asked Mr. Neman about in those portions of Mr. Neman’s
   12 deposition that are cited in InterFocus’ concurrently filed supplemental brief. Those
   13 deposition excerpts and deposition exhibits are attached as Exhibit 1.
   14         3.    In that deposition, I also asked Mr. Neman other questions, and Mr.
   15 Neman gave other answers, on certain other subjects that are cited in the
   16 concurrently filed supplemental brief. Opposing counsel designated the documents
   17 about which I questioned Mr. Neman, and Mr. Neman’s answers in the deposition,
   18 confidential pursuant to the Confidentiality order entered in this action. In
   19 compliance with local rules, I discussed with opposing counsel whether it would be
   20 possible to redact certain information from the business records of Neman Brothers,
   21 Inc. about which I questioned Mr. Neman so they could be filed without sealing
   22 them. At plaintiff counsel’s request we agreed redact certain supplier and price
   23 information from those documents so they could be filed without seal, and did so.
   24 Attached as Exhibit 3 are true and correct copies of those redacted deposition
   25 exhibits.
   26         4.    However, I did not believe it possible to redact the same information
   27 from Neman’s deposition testimony on those related to those documents without
   28 significantly interfering with the coherence of that testimony. Thus, Interfocus
                                                 2
          DECL OF MARK S. LEE IN FURTHER SUPPORT OF MTN FOR SUMMARY JUDGMENT AND OPP TO
            PLAINTIFF’S MTN FOR SUMMARY JUDGMENT; AND APPLICATION TO FILE UNDER SEAL
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    1 applies to have certain excerpts from Mr. Neman’s deposition filed under seal
    2 consistent with Plaintiff’s designation of those subjects as confidential. True and
    3 correct copies of those deposition excerpts that we request be filed under seal for
    4 that reason are attached as Exhibit 2. InterFocus is concurrently filing an
    5 application to have that testimony submitted as Exhibit 2 filed under seal. .
    6        I declare under penalty of perjury under the laws of the United States that the
    7 foregoing is true and correct. Executed this November 1, 2021, at Los Angeles,
    8 California.
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                                                     /s/ Mark S. Lee
   10                                                Mark S. Lee
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          DECL OF MARK S. LEE IN FURTHER SUPPORT OF MTN FOR SUMMARY JUDGMENT AND OPP TO
            PLAINTIFF’S MTN FOR SUMMARY JUDGMENT; AND APPLICATION TO FILE UNDER SEAL
